                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                   AT NASHVILLE

TRACTOR SUPPLY COMPANY                               )
                                                     )
v.                                                   )       Case No. 3:21-cv-00619
                                                     )       Judge Campbell
ACE AMERICAN INSURANCE                               )       Magistrate Judge Holmes
COMPANY, UNIFIRST CORPORATION                        )
and ESIS, INC.                                       )


                    FIRST MODIFIED CASE MANAGEMENT ORDER


        A status/case management conference was held on June 2, 2022. Counsel participating

were: Mark Bell and David Zeitlin for Plaintiff; Alfred Warrington and Bryan Jakes for Defendant

ACE American Insurance; Graham Matherne and Andrew Pulliam for Defendant Unifirst

Corporation; and, Todd Presnell for Defendant ESIS, Inc. Because the parties requested an

extension of at least the discovery deadline and perhaps others, the Court instructed counsel to

confer and file a motion to amend the case management order, which they jointly did (Docket

No. 114) and which is GRANTED as provided below.

        In granting the parties’ motion, the Court notes that the parties specifically requested an

extension of the discovery deadline and generally requested extensions of “other relevant

deadlines” by 90 days. (Docket No. 114 at 4.)1 However, this is not consistent with the proposed

new deadlines in the modified case management order submitted by the parties (Docket No. 115),


        1
         This is not in compliance with the Court’s standard requirements for motions to modify
the case management order, which are included in the Court’s form order that the parties were
instructed to utilize. See Docket No. 50 at 3 n.1. The Court has now realized that the parties’
proposed case management order (Docket No. 60) omitted the Court’s required procedures. An
earlier version (Docket No. 47) included the required procedures and there is no apparent reason
why the procedures were omitted in the later proposed order. The Court supposes it may have
resulted from the unusual procedural posture of the original two related cases. Regardless, the
Court’s required procedures for requests to modify case management orders are imposed below.


     Case 3:21-cv-00619 Document 116 Filed 06/15/22 Page 1 of 4 PageID #: 2527
which extends the fact discovery deadlines and expert disclosures/discovery deadlines (but not by

90 days), but no other deadlines. Instead, the parties’ proposed modified case management order

includes a provision for dispositive motions with unchanged deadlines. The proposed order also

includes the proposed target trial date that was previously requested, even though trial has already

been set. As a result, the Court has spent an inordinate amount of time attempting to sort out the

parties’ intentions. This is precisely what the Court intended to avoid when it instructed counsel

during the June 2 status conference to further confer about any requested modifications. To the

best of the Court’s discernment, the parties are requesting only extensions of the fact discovery

and expert disclosures/discovery deadlines, but not dispositive motion deadlines or any

modification of the trial date.

       Accordingly, from review of the parties’ proposed amended case management order

(Docket No. 115) and the entire record, the case management schedule and plan is modified as

follows:2

       A.        DISCOVERY: The deadline to complete written discovery and fact witness

depositions is extended to October 27, 2022. Completion of written discovery and scheduling of

depositions must proceed promptly.3 The deadline for filing discovery-related motions is extended

to October 27, 2022, unless otherwise permitted by the Court. The parties are reminded that any

unresolvable discovery disputes must be brought promptly to the Court’s attention in accordance

with the discovery dispute resolution procedures and the filing of a joint motion for a discovery



       2
          Certain deadlines were modified because the parties’ proposed deadlines fell on
weekends.
        3
          Given the number of depositions the parties anticipate taking, they would be well-served
to go ahead and schedule those depositions, which can be scheduled toward the end of the
discovery period to allow for resolution of any discovery disputes, but which will avoid any last-
minute scheduling conflicts, which the parties should not presume will be accommodated by
further extension of the discovery deadlines.
                                                 2
   Case 3:21-cv-00619 Document 116 Filed 06/15/22 Page 2 of 4 PageID #: 2528
conference. Failure to timely attempt resolution of discovery disputes and seek court intervention

may have adverse consequences. All other discovery provisions, including for resolution of

discovery disputes, remain unchanged.

        B.       DISCLOSURE AND DEPOSITION OF EXPERTS: The plaintiff must

identify and disclose all expert witnesses and expert reports on or before October 31, 2022. The

defendant must identify and disclose all expert witnesses and reports on or before November 29,

2022. Expert depositions must be completed by December 19, 2022. All other provisions for

expert disclosures and discovery remain unchanged.

        C.       MODIFICATION OF CASE MANAGEMENT ORDER. Any motion to modify

the case management order or any case management deadline shall be filed at least seven (7) days in

advance of the earliest impacted deadline. Unless a joint motion, the motion for modification must

include a statement confirming that counsel for the moving party has discussed the requested

modification or extension with opposing counsel and whether there is any objection to the requested

modification or extension. The motion for modification must also include: (i) the trial date and all

deadlines, even unaffected deadlines, so that it will not be necessary for the Court to review one or

more previous case management orders in consideration of the motion and (ii) confirmation by

counsel that the requested extension will not cause any dispositive motion deadline, including

response and reply briefs, to be later than 120 days in advance of the trial date. Motions for extensions

must also detail the moving party’s efforts at diligently complying with the originally scheduled

deadline and the facts demonstrating good cause for modification of the deadline as required by Fed.

R. Civ. P. 16(b)(4).




                                                   3
   Case 3:21-cv-00619 Document 116 Filed 06/15/22 Page 3 of 4 PageID #: 2529
       D.        OTHER CASE MANAGEMENT DEADLINES AND PROVISIONS: All

other case management deadlines and provisions found in prior orders and not modified herein

remain in place and in full force and effect.

       Similarly, the trial date and the pretrial schedule (Docket No. 76) remain unchanged.

         It is so ORDERED.




                                                       BARBARA D. HOLMES
                                                       United States Magistrate Judge




                                                 4
   Case 3:21-cv-00619 Document 116 Filed 06/15/22 Page 4 of 4 PageID #: 2530
